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       December 20, 2020

       BY ECF
       Honorable Brian M. Cogan
       United States District Judge for the
        Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York, 11201

       Re: United States v. Colinford Mattis, 20 Cr. 203 (BMC)

       Your Honor:

               With consent of the government and pretrial services, Mr. Mattis seeks modification of
       one of the bail conditions (home confinement) in this case. All others conditions of release would
       remain the same.

               Mr. Mattis would like to spend December 25, 2020 (Christmas day) with his siblings and
       other family at his sister's house (                                            ) from 10:00
       a.m. to 11:00 p.m. and with his family go visit his mother's gravesite (
         ) in Cypress Hill's Cemetery (625 Jamaica Ave, Brooklyn, NY 11208) from noon to 2:00 p.m.
       on Christmas Day.

              Relatedly, he would also like to request approval to visit his mother's grave during the
       same time period (noon to 2:00 pm) on the following days in the 2021; January 24, 2020 (his
       mother’s birthday), May 9th (which is. Mother's Day) and June 5th (the day of her passing).

              I thank the Court for its time and consideration.


                                                            Respectfully submitted,

                                                            /s/Sabrina P. Shroff
                                                            Attorney for Colinford Mattis

       cc:    All counsel (by ECF) & pretrial by email




       SO ORDERED: _____________________
                   Hon. Brian M. Cogan
                   Judge, United States District Court
